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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

RYANAIR DAC,

                  Plaintiff,

       v.                                          C.A. No. 20-01191-WCB

BOOKING HOLDINGS INC.,
BOOKING.COM B.V., KAYAK SOFTWARE
CORPORATION, PRICELINE.COM LLC,
and AGODA COMPANY PTE. LTD,

                  Defendants.


                                  NOTICE OF LODGING

       PLEASE TAKE NOTICE that on January 22, 2024, Defendants Booking Holdings Inc.,

Booking.com B.V., KAYAK Software Corporation, Priceline.com LLC, and Agoda Company

Pte.Ltd. caused to be lodged with the Court Exhibit EE and Exhibit FF to the Declaration of

Kathleen Hartnett in Support of Defendants’ Brief in Opposition to Ryanair’s Motion for Summary

Judgment and Motions to Preclude Defendants’ Expert Testimony. Both Exhibit EE and Exhibit

FF are designated HIGHLY CONFIDENTIAL – AUTHORIZED PERSONNEL ONLY

PURSUANT TO THE COURT’S JULY 21, 2023 ORDER (D.I. 192).

       Copies have also been sent to the following counsel in the manner indicated:

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Dated: January 22, 2024




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